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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
Jorge Garcia, on behalf of himself and others
similarly situated in the proposed FLSA
Collective Action,                                                Case No.: 22-cv-10500

                                             Plaintiff,
                                                                  NOTICE OF ACCEPTANCE
                                                                  OF OFFER OF JUDGMENT
                  - against –
                                                                  PURSUANT TO FED.R.CIV.P.
                                                                  68
S&D Security and Data Inc., and David Amir,

                                              Defendants.
--------------------------------------------------------------X

          WHEREAS, pursuant Rule 68 of the Federal Rules of Civil Procedure (“Fed.R.Civ.P.”),

 Defendants S&D Security and Data Inc., and David Amir (the “Defendants”) having offered to

 allow Plaintiff Jorge Garcia (the “Plaintiff”) to take a judgment against the Defendants in this

 action in the total sum of Five Thousand Dollars and Zero Cents ($5,000.00) (the “Judgment

 Amount”).

        WHEREAS, the total Judgment Amount is inclusive of reasonable attorney’s fees, costs,

and expenses, for Plaintiff’s claims against Defendants arising out, alleged in, or related to, the

facts and transactions alleged in the above-captioned action (the “Offer of Judgment”).

        WHEREAS, a true and correct copy of the Offer of Judgment is annexed hereto as Exhibit

“A”;

        NOTICE IS HEREBY GIVEN that Plaintiff’s counsel hereby confirms acceptance of

Defendants’ Offer of Judgment.
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                                           LEVIN-EPSTEIN & ASSOCIATES, P.C.

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Encl.
